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                                   STATEMENT OF FACTS

        1.      I am Special Agent Christopher Quintero (SA) with the Federal Bureau of
Investigation, currently assigned to investigate domestic terrorism in the Seattle Field Office. I
have been so employed for one and a half years. Prior to working with the FBI, I was a Police
Officer in Boulder, Colorado for five years and was employed as an Officer/Deputy in Prince
William County, Virginia for five years prior to that. My experience as an FBI Agent includes the
investigation of cases where individuals frequently utilize computers and the Internet to coordinate
and facilitate various crimes. I have received training and gained experience in interviewing and
interrogation techniques, arrest procedures, search warrant applications, the execution of searches
and seizures, computer evidence identification, computer evidence seizure and processing, and
various other criminal laws and procedures. I have personally participated in the execution of
search warrants involving the search and seizure of computer equipment. I have received training
on network and information security, and on the methods and tactics of open source intelligence
gathering.

        2.      The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions
around the U.S. Capitol include permanent and temporary security barriers and posts manned by
U.S. Capitol Police. Only authorized people with appropriate identification were allowed access
inside the U.S. Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed
to members of the public.

       3.      On January 6, 2021, a joint session of the United States Congress convened at the
United States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint
session, elected members of the United States House of Representatives and the United States
Senate were meeting in separate chambers of the United States Capitol to certify the vote count of
the Electoral College of the 2020 Presidential Election, which had taken place on November 3,
2020. The joint session began at approximately 1:00 p.m. Shortly thereafter, by approximately
1:30 p.m., the House and Senate adjourned to separate chambers to resolve a particular objection.
Vice President Michael Pence was present and presiding, first in the joint session, and then in the
Senate chamber.

       4.      As the proceedings continued in both the House and the Senate, and with Vice
President Pence present and presiding over the Senate, a large crowd gathered outside the U.S.
Capitol. As noted above, temporary and permanent barricades were in place around the exterior of
the U.S. Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd
away from the Capitol building and the proceedings underway inside.

       5.      At such time, the certification proceedings were still underway and the exterior
doors and windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S.
Capitol Police attempted to maintain order and keep the crowd from entering the Capitol; however,
around 2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking
windows and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged
and assisted those acts.

       6.      Shortly thereafter, at approximately 2:20 p.m., members of the United States House
of Representatives and United States Senate, including the President of the Senate, Vice President
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Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session of the
United States Congress was effectively suspended until shortly after 8:00 p.m. Vice President
Pence remained in the United States Capitol from the time he was evacuated from the Senate
Chamber until the sessions resumed.

        7.      During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

        8.       On January 31, 2021, an online news publication posted an article titled “Arlington
Proud Boy ‘Milkshake’ fought police at U.S. Capitol.” In that article were the following
photographs of an individual that the article identified as “Daniel Lyons Scott.” According to the
author of the article, SCOTT had been quoted by the same publication in 2019 in an article about
the Proud Boys organization. In addition, as described later, a witness (W-2) who knows SCOTT
reviewed the two photographs below and identified the individual they depict as DANIEL LYONS
SCOTT. Based on the article, that identification, and the other information included in this
affidavit, I refer to this individual as SCOTT throughout this affidavit.
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         9.    In the first of these two photographs, SCOTT is a white male with a beard, wearing
an olive-green jacket, blue sunglasses, and a blue hat with goggles on his forehead. The second
picture shows SCOTT wearing a blue hat, sunglasses, an olive green jacket, a black ballistic vest,
goggles with yellow/orange trim clipped to the vest, and a blue carabiner on his vest. Also pictured
in this second photograph, on the left, is Ethan NORDEAN, a Proud Boy leader who is currently
charged in connection with the events of January 6, 2021.

     10.    A zoomed-in version of the second photograph shows that the blue hat worn by
SCOTT has several words written in white lettering.
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         11.    On May 27, 2020, there was an article published by Wonkette entitled “Proud Boys
Tore Down A Covid-19 Memorial, Because Caring That People Died Is For Commies.” The
article contains a picture of a person, who appears to match the appearance of SCOTT, identifying
himself as a Proud Boy member. This individual can be seen wearing green sunglasses, of
apparently the same model as the ones worn by SCOTT on January 6, 2021, and a black ballistic
vest with yellow lettering stating: “PROUD BOY.”




       12.    Since January 6, 2021, the FBI has accessed open-source materials located on
various Twitter accounts that show photographs and videos apparently taken on or near U.S.
Capitol grounds on January 6, 2021. Some of the images and photographs included below come
from those open-source materials and depict SCOTT.

        13.     On one Twitter account, the following photograph was posted. It appears to depict
SCOTT—the appearance and facial hair match—wearing what appear to be the same blue hat and
blue sunglasses. Of note, the visible white lettering on the hat says “& TRUMP,” and there appears
to be lettering above it as well. There is also a pin on the hat, to the left of the word “TRUMP,”
in the same location as a pin on the hat in the images above. The blue sunglasses have the word
“MILKSHAKE” written in white lettering in the upper left corner. The same word cannot easily
be made out in the images above, but there does appear to be lettering in the same location in those
images. The individual is exposing his left arm, which has a tattoo that appears to read “PROUD
BOY.”
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        14.    The Wall Street Journal independently published a video report on January 26,
2021, identifying (in accompanying audio) the individual pictured below as “Dan Scott, a Proud
Boy known as ‘Milkshake.’” Most of the video used is from an individual, Person A, who
documented the events of the day. The text on the video from the Wall Street Journal reads: “Dan
Scott ‘Milkshake.’” The individual highlighted in this video report matches the appearance of the
individual pictured in earlier photographs in this affidavit. SCOTT is wearing an olive-green
jacket, blue sunglasses, and a blue hat. Shortly before the portion of the video below, Person A
refers to SCOTT as “Milkshake,” at which time SCOTT turns his head toward Person A and
smiles.
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       15.    Other photographs from that day show SCOTT marching with or in proximity to
other known Proud Boy members. For example:




         16.     In the same Wall Street Journal video identified earlier, at one point in a scene
involving numerous known Proud Boys members (including several charged for their conduct on
January 6, 2021), an offscreen speaker says “Let’s take the fucking Capitol.” Another individual
then approaches the camera and says: “Let’s not fucking yell that, alright?” NORDEAN then
walks by and states: “It was Milkshake, man, you know . . . idiot.” This is depicted in the following
stills from that video:
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         17.     Another video available on YouTube shows an individual who appears to match
the appearance of SCOTT, and who is wearing a black tactical vest with a blue carabiner, a blue
hat, and goggles with yellow/orange trim. At times, the blue hat is visible, and has a pin in the
same location as in the images above. This individual’s face and facial hair also appear to match
that of the individual pictured above. The individual introduces himself as “Milkshake,” and states
he is “from Florida” but has been living in Seattle. He further identifies himself as a “Proud Boy.”
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        18.     Other images from open-source websites show this same individual on U.S. Capitol
grounds, just outside the Capitol on the lower west plaza. This area is on the U.S. Capitol grounds
under 40 U.S.C. § 5104(e) and is within a restricted building or grounds under 18 U.S.C. § 1752.
SCOTT is identifiable based on his blue hat with a pin and white lettering; black goggles with
yellow/orange trim; olive green jacket; and facial hair and general appearance. Behind SCOTT is
a line of law enforcement officers standing on steps leading to the Capitol building.
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        19.      That same line of law enforcement officers, in that same location, was later
breached by the crowd. The following two photographs were obtained from a photographer who
provided his photographs to the FBI. They depict SCOTT on the West Side of the U.S. Capitol
Building. The second photograph is a zoomed-in version of the first photograph, showing the
features that allowed me to identify him as SCOTT. The timestamp on this photograph’s metadata
states that it was taken at 2:37 PM on January 6, 2021, but law enforcement believes these events
occurred approximately one hour earlier. The images below show the line of officers standing on
a set of steps under white tarps and scaffolding.
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        20.    Pro Publica (projects.propublica.org) has downloaded videos from the Parler
application that were apparently taken on January 6, 2021. These videos, which I have reviewed,
depict the same area at the same staircase on the lower west terrace of the Capitol. One video
depicts a large crowd outside the Capitol building yelling at U.S. Capitol Police officers. At the
21-second mark, the person identified as SCOTT based on his clothing (including his blue hat,
goggles with yellow/orange trim, and olive-green jacket) is at the front lines. SCOTT can be seen
pushing two U.S. Capitol Police officers backward, up the steps. He appears to be one of the first,
or perhaps the first, persons to initiate contact with law enforcement at this location. SCOTT then
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appears to pull one of the two officers into the crowd for approximately 3-4 seconds before another
officer is able to pull the officer out of the crowd. Both officers retreat up the steps while SCOTT
moves off-screen to the left of the video. The following stills depict this contact. Note, however,
that the images do not depict the entire scene.
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        21.  The following image, from the same melee, shows the blue hat more clearly. It
states “GOD Guns,” with the “& TRUMP” lettering described earlier presumably following.
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     22.    The following photograph, apparently taken by a photographer, depicts this scene.
SCOTT and the officer being pulled into the crowd are circled in red.




        23.      Records obtained from PARLER indicate that an account tied to the cell phone
number ***-***-3240 has a username of “Milkshake” and an associated email address of
***********@hotmail.com. Records obtained from T-Mobile US for the same phone number
indicate that its subscriber is “DANIEL L SCOTT”. Records obtained from Microsoft Corporation
indicate that the owner of the associated Hotmail account identified above belongs to a “DAN
SCOTT” with the same associated cell phone number.

        24.    In March 2021, FBI agents interviewed a witness (W-1) who knows SCOTT. W-
1 identified SCOTT as a “Proud Boy” who went by “Milkshake,” and stated that SCOTT was
present at the U.S. Capitol on January 6, 2021, and that SCOTT had stated that he was inside the
Capitol building before later retracting that claim.

        25.   On April 16, 2021, I interviewed a witness (W-2) who has known SCOTT for
months. W-2 described SCOTT as being tall, hairy, overweight, and having a tattoo that reads
“Proud Boy” on his arm. W-2 looked at SCOTT’s Washington driver’s license photo and identified
it as SCOTT. As noted earlier, W-2 also reviewed the images of SCOTT in paragraph 8 above and
identified SCOTT in them.

       26.   Based on the foregoing, your affiant submits that there is probable cause to believe
that SCOTT violated 18 U.S.C. § 1752(a)(1), (2) and (4), which makes it a crime to (1) knowingly
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enter or remain in any restricted building or grounds without lawful authority to do so; (2)
knowingly, and with intent to impede or disrupt the orderly conduct of Government business or
official functions, engage in disorderly or disruptive conduct in, or within such proximity to, any
restricted building or grounds when, or so that, such conduct, in fact, impedes or disrupts the
orderly conduct of Government business or official functions; (4) knowingly engage in any act of
physical violence against any person or property in any restricted building or grounds; or attempt
or conspire to do so. For purposes of Section 1752 of Title 18, a “restricted building” includes a
posted, cordoned off, or otherwise restricted area of a building or grounds where the President or
other person protected by the Secret Service, including the Vice President, is or will be temporarily
visiting; or any building or grounds so restricted in conjunction with an event designated as a
special event of national significance.

        27.     Your affiant submits there is also probable cause to believe that SCOTT violated
40 U.S.C. § 5104(e)(2)(D) and (F), which makes it a crime to willfully and knowingly (D) utter
loud, threatening, or abusive language, or engage in disorderly or disruptive conduct, at any place
in the Grounds or in any of the Capitol Buildings with the intent to impede, disrupt, or disturb the
orderly conduct of a session of Congress or either House of Congress, or the orderly conduct in
that building of a hearing before, or any deliberations of, a committee of Congress or either House
of Congress, or (F) engage in an act of physical violence in the Grounds or any of the Capitol
Buildings.

        28.     Your affiant submits there is also probable cause to believe that SCOTT violated
18 U.S.C. § 231(a)(3), which makes it unlawful to commit or attempt to commit any act to obstruct,
impede, or interfere with any fireman or law enforcement officer lawfully engaged in the lawful
performance of his official duties incident to and during the commission of a civil disorder which
in any way or degree obstructs, delays, or adversely affects commerce or the movement of any
article or commodity in commerce or the conduct or performance of any federally protected
function. For purposes of Section 231 of Title 18, a federally protected function means any
function, operation, or action carried out, under the laws of the United States, by any department,
agency, or instrumentality of the United States or by an officer or employee thereof. This includes
the Joint Session of Congress where the Senate and House count Electoral College votes.

       29.     Your affiant submits there is also probable cause to believe that SCOTT violated
18 U.S.C. § 1512(c)(2), which makes it a crime to obstruct, influence, or impede any official
proceeding, or attempt to do so. Under 18 U.S.C. § 1515, congressional proceedings are official
proceedings.

        30.     Finally, your affiant submits there is probable cause to believe that SCOTT violated
18 U.S.C. § 111(a)(1), which makes it a crime to forcibly assault, resist, oppose, impede,
intimidate, or interfere with any person designated in 18 U.S.C. § 1114. Persons designated within
Section 1114 include any person assisting an officer or employee of the United States in the
performance of their official duties. In addition, your affiant submits there is probable cause to
believe that SCOTT’s violation of Section 111(a)(1) involved physical contact with the victim of
that assault and the intent to commit another felony.
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                                                    _________________________________
                                                    Christopher Quintero, Special Agent
                                                    FBI

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1
by telephone, this __29th___ day of April, 2021.
                                                                          2021.04.29
                                                                          14:36:37 -04'00'
                                                    __________________________________
                                                    ZIA M. FARUQUI
                                                    U.S. MAGISTRATE JUDGE
